Case 1:05-cr-10038-.]DT Document 13 Filed 06/17/05 Page 1 of 2 PagelD 14

|N THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE Fii_tiD ‘3\:'.._.n
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P|aintlff, W. D. OF TN JACKSON

V. Cr. NO. 05-10038-02-T

 

 

UN|TED STATES OF AMER|CA,

R|CHARD ROBERSON,

Defendant.

 

ORDER ON ARRA|GN|VIENT

 

This cause came to be heard on June 17, 2005. The Assistant United States Attorney
appeared on behalf of the government, and the defendant appeared in person and with the
following counsell Who is appointed:

NA|V|E: Dianne Smothers
ADDRESS;

TELEPHONE;

The defendant, through counsel, Waived formal arraignment and entered a plea of not
guilty.

Al| motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extendedl

The defendant, Who is not in custody, may stand on his present bond.
/ The defendant, (not having made bond) (being a state prisoner) (being a federal

prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody of the
U.S. l\/larsha|.

r,..___

s. THoMAs ANDERsoN
United States l\/lagistrate Judge

Charges: drug trafficking
Assistant U.S. Attorney assigned to case: Kitchen

Rule 32 Was not Waived.

This document entered on the docket sheet in compliance
with Ruie 55 andror 32(b} FRch on OO '@?C~' ' 05

DISTRIC COURT - WESRNTE D"'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 1:05-CR-10038 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson, TN 38301

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

